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                  EXHIBIT 13
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           DEPARTMENT OF HEALTH& HUMAN SERVICES                                     Off iCe of Inspector   General




                                                                                    Memorandum
Date
               MAY311996

From       June Gibbs Brown



                           P
                                        @~
           Inspector Gener
Subject
           Review of Pharm      Acquisition Costs for Drugs Reimbursed Under the Medic@d
           Prescription Drug Program of the California Department of Health Services
To         (A-06-95-OO062)

           Bruce C. Vladeck
           Administrator
           Health Care Financing Administration


           Attached for your information and use is our final report entitled, Review of
           Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription
           Drug Program of the California Department of Health Services.” This review was
           conducted as part of a nationwide audit of pharmacy drug acquisition costs at the
           Health Care Financing Administration’s request. Most States reimburse pharmacies
           for Medicaid prescriptions using a formula which generally discounts the average
           wholesale price (AWP) by 10.5 percent. The objective of our review was focused on
           developing an estimate of the difference between the actual acquisition costs of drugs
           of pharmacies and AWP for both brand name and generic drugs.

           The California Department of Health Services (State Agency) was 1 of 11 States
           randomly selected as part of the nationwide review. California reported drug
           expenditures of $1.3 billion in Calendar Year 1994.

           Through statistical sampling, we obtained pricing information from 34 California
           pharmacies. We obtained 1,198 invoice prices for brand name drugs, and 660
           invoice prices for generic drugs. The overall estimate of the extent that AWP
           exceeded pharmacy purchase invoice prices was 17.5 percent for brand name drugs
           and 41.4 percent for generic drugs. The national estimates are 18.3 percent and
           42.5 percent, respectively. The estimates combine the results for four categories of
           pharmacies including rural-chain, rural-independent, urban-chain, and urban-
           independent.   The estimates exclude the results obtained from non-traditional
           pharmacies (nursing home pharmacies, hospital pharmacies, home IV, etc.) because
           such pharmacies purchase drugs at substantially greater discounts than retail
           pharmacies, and including them would have inappropriately inflated our percentages.
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,,
            Page 2- Bruce C. Vladeck

            We are recommending that the State Agency consider the results of this review as a
            factor in any future changes to pharmacy reimbursement for Medicaid drugs.

            In response to our draft report, the State Agency stated: (1) our audit results
            substantiated their position that current drug ingredient cost reimbursement does not
            reflect actual purchasing activity of California pharmacies and (2) they intend ti- use
            the report data to support a provision in the California Governor’s budget proposal to
            decrease drug ingredient reimbursement.

            We welcome any comments you have on this California State report. If you have
            any questions, call me or have your staff contact George M. Reeb, Assistant
            Inspector General for Health Care Financing Audits, at (410) 786-7104.

            To facilitate identification,   please refer to Common Identification   Number
            A-06-95-00062.

            Attachment
           *,i*vlccTti          Case 1:01-cv-12257-PBS Document 6208-15 Filed 06/29/09 Page 4 of 20
    *.+-
    �
;                                DEPARTMENT      OF HEALTH&      HUMAN    SERVICES                          Office of Inspector    General
‘                /       >



                                                                                                            Washington,     D.C.   20201
                                                                         MAY31m
                             Ms. S. Kimberly Belshe
                             Director
                             California Department of Health Services
                             714 P Street
                             Sacramento, California 95814
                                                                                                                      .=.
                             Dear Ms. Belshe:

                             Enclosed are two copies of the U.S. Department of Health and Human Services, Office of
                             Inspector General, Office of Audit Services’ report entitled, “Review of Pharmacy Acquisition
                             Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program of the California
                             Department of Health Services.” Our review was performed at the request of the Health Care
                             Financing Administration and was conducted as part of a nationwide review of pharmacy drug
                             acquisition costs. This report provides you with the final results of our review. As pointed out
                             in our draft report, we determined that there is a significant difference between average
                             wholesale price and pharmacy acquisition costs.

                             In our draft report, we recommended that the California Department of Health Services (State
                             Agency) consider the results of our review as a factor in any fhture changes to pharmacy
                             reimbursement for Medicaid drugs. In response to the draft report, the State Agency has
                             concurred with our recommendation and intends to use the report data to support a provision in
                             the California Governor’s budget proposal to decrease drug ingredient reimbursement. The State
                             Agency’s comments are incorporated in our final report.

                             Once again, our office would like to express how supportive State Agency officials, Allen Fung,
                             Roy Takeuchi, and Doug Hillblom of John Rodriguez’s staff were of this project. Our office
                             would like to take this time to thank you for your support in helping us achieve the objectives of
                             this review.

                             If you have any questions, please call me or have your staff contact George M. Reeb, Assistant
                             Inspector General for Health Care Financing Audits, at (410) 786-7104. We would appreciate
                             receiving your final comments within 15 days from the date of this letter.

                             To facilitate identification, please refer to Common Identification Number A-06-95 -OO062 in all
                             correspondence relating to this report.

                                                                           Sincerely,


                                                             /qu’d8&
                             Enclosures
                                                           u               June Gibbs Brown
                                                                           Inspector General
    A
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I
I        Department of Health and Human Services
                    OFFICE OF
               INSPECTOR GENERAL




                     REVIEW OF
          PHARMACY ACQUISITION  COSTS FOR
            DRUGS REIMBURSED UNDER THE
        MEDICAID PRESCRIPTION DRUG PROGRAM
                       OF THE
          CALIFORNIA DEPARTMENT OF HEALTH
                      SERVICES
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                                                  SUMMARY

         A      t the request of the Health Care Financing Administration (HCFA), the OffIce of Inspector
                General (OIG) conducted a nationwide review of pharmacy acquisition costs for drugs
         reimbursed under the Medicaid prescription drug program. Since most States reimburse
         pharmacies for Medicaid prescriptions using a formula which discounts the average wholesale
         price (AWP), the objective of our review was to develop an estimate of the difference between
         the actual acquisition costs of drugs of the pharmacies and AWP for both brand name and generic
         drugs.

         To accomplish our objective, we selected a random sample of 11 States from a universe of 48
         States and the District of Columbia. Arizona was excluded from the universe of States because
         the Medicaid drug program is a demonstration project using prepaid cavitation financing and
         Temessee was excluded because of a waiver received to implement a statewide managed care
         program for Medicaid. California was one of the sample States, as well as Delaware,
         District of Columbia, Florida, Maryland, Missouri, Montana, Nebraska, New Jersey,
         North Carolina, and Virginia.

         Additionally, we selected a sample of Medicaid pharmacy providers from each State and obtained
         invoices of their drug purchases. The pharmacies were selected from each of five categories-­
         rural-chain, rural-independent, urban-chain, urban-independent, and non-traditional pharmacies
         (nursing home pharmacies, hospital pharmacies, etc.). We included the non-traditional category
         so as to be able to exclude those pharmacies from our overall estimates. We believed such
         pharmacies purchase drugs at substantially greater discounts than retail pharmacies, and including
         them would have inflated our percentages.

         We compared each invoice drug price to AWP for that drug and calculated the percentage, if any,
         by which AVLP exceeded the invoice price. We then projected those differences to the universe of
         pharmacies in each catego~ for each State and calculated an overall estimate for each State.
         Additionally, we projected the results from each State to estimate the nationwide difference
         between AWP and invoice price for each category.

         In California, we obtained pricing information from 34 pharmacies. Specifically, we obtained
         1,198 invoice prices for brand name drugs, and 660 invoice prices for generic drugs. For
         California, the overall estimate of the extent that AWP exceeded invoice prices was 17.5 percent
         for brand name drugs and 41.4 percent for generic drugs. The national estimates are 18.3 percent
         and 42.5 percent, respectively. The estimates combine the results for four categories of
         pharmacies including rural-chain, rural-independent, urban-chain, and urban-independent and
         exclude the results obtained from non-traditional pharmacies.




             Review ofPharmacy
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We are recommending that the California Department of Health Services (State Agency)
consider the results of this review as a factor in any fiture changes to pharmacy reimbursement
for Medicaid drugs. We will share the information with HCFA from all 11 States in a
consolidation report for their use in evaluating the overall Medicaid drug program.

The Deputy Director of the State Agency responded to our drafi report in a letter dated March 25,
1996. The State Agency stated that the audit results substantiated their position that c~ent drug
ingredient cost reimbursement does not reflect actual purchasing activity of California
pharmacies and that they intended to use the report data to support a provisibn in their
Governor’s budget proposal to decrease drug ingredient reimbursement. The State Agency’s
response is included in its entirety as Appendix 4 of this report.




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                                    INTRODUCTION
At the request of HCF~ OIG, OffIce of Audit Services (OAS) conducted a review of pharmacy
acquisition costs for drugs reimbursed under the Medicaid prescription drug program of the
California Department of Health Services (State Agency). The objective of our review was to
develop an estimate of the difference between the actual acquisition costs of drugs and AWP.
This review was conducted as a part of a nationwide review of pharmacy acquisition costs.
California was 1 of 11 States randomly selected as part of the nationwide review.

BACKGROUND

Medicaid regulations provide for the reimbursement of drugs using two methods. If a drug is a
multiple source (generic) drug, then reimbursement is based on the lower of the pharmacist’s
usual and customary charge to the general public or an upper limit amount plus a dispensing fee.
The Federal upper limit amounts are established by HCFA. If a drug is a single source (brand
name) drug, or a generic drug for which an upper limit amount has not been established, then the
reimbursement is the lower of the pharmacist’s usual and customary charge to the general public
or the estimated acquisition cost (EAC) plus a reasonable dispensing fee. The State agencies are
responsible for determining the EAC and the dispensing fee.

The EAC for most States is calculated by using AWP for a drug less some percentage. The AWP
is the price assigned to the drug by its manufacturer and is listed in either the Red Book,
Medispan or the Blue Book--publications universally used in the pharmaceutical industry. Prior
to 1984, most States used 100 percent of AWP for reimbursement of acquisition costs. However,
OIG issued a report in 1984 which stated that, on average, pharmacies purchased drugs for
15.9 percent below AWP. In 1989, OIG issued a follow-up report which concluded that
pharmacies were purchasing drugs at discounts of 15.5 percent below AWP. Both the 1984 and
1989 reports combined brand name and generic drugs in calculating the percentage discounts and
included a comparison of 3,469 and 4,723 purchases, respectively.

In 1989, HCFA issued a revision to the State Medicaid Manual which pointed out that a
preponderance of evidence demonstrated that AWP overstated prices that pharmacies actually
paid for drugs by as much as 10 to 20 percent. The Manual firther provided that, absent valid
documentation to the contrary, it would not be acceptable for a State to make reimbursements
using AWP without a significant discount.

In November 1990, the Omnibus Budget Reconciliation Act of 1990 was passed which placed a
4-year moratorium on changes to States’ reimbursement policies. The moratorium expired on
December 31, 1994 and HCFA requested that we, once again, determine the difference between
AWP and actual pharmacy acquisition cost.



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    The State Agency reported drug expenditures of $1.3 billion in Calendar Year (CY) 1994.

    SCOPE

    Our review was performed in accordance with generally accepted government auditing standards.
    The objective of our review was to develop an estimate of the difference between AWP and the
    actual invoice prices of both brand name and generic prescription chugsto Medicaidpharmacy
    providers. Our objective did not require that we identi~ or review any internal control systems.

    Our review was limited to ingredient acquisition costs and did not address other areas such as:
    the effect of Medicaid business as a contribution to other store sales; the cost to provide
    professional services other than dispensing a prescription such as therapeutic interventions, patient
    education, and physician consultation; and the cost of dispensing which includes costs for
    computers, multi-part labels, containers, technical staff, transaction fees, Medicaid specific
    administrative costs, and general overhead. We also did not take into consideration the effect of
    Federal upper limit amounts on generic drug reimbursements or usual and customary charge
    limitations. We plan to evaluate the effect of the Federal upper limit amounts on generic drug
    reimbursements in a subsequent review.

    We obtained a listing of all Medicaid pharmacy providers from the State Agency. The State
    Agency was responsible for classi~lng each pharmacy as chain, independent or non-traditional.
    For purposes of this review, a chain was defined as four or more pharmacies with common
    ownership. We determined whether each pharmacy was rural or urban by comparing the county
    location for each pharmacy to a December31, 1992 listing of metropolitan areas and their
    components. We selected a stratified random sample of 60 pharmacies with 12 pharmacies
    selected from each of 5 strata--xural-chain, rural-independent, urban-chain, urban-independent,
    and non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.) We included
    the non-traditional category so as to be able to exclude those pharmacies from our estimates. We
    believed that such pharmacies are able to purchase drugs at substantially greater discounts than a
    retail pharmacy and would inflate our estimate.

    We requested, from each pharmacy selected, the largest invoice from each different source of
    supply for a specified month in CY 1994. We identified the sources of supply as wholesalers,
    chain warehouse distribution centers, generic distributors, and direct manufacturer purchases.
    Each pharmacy was assigned a month from January through September in order to provide a
    cross-section of this 9-month time period.

    We reviewed every line item on the invoices supplied by the sample pharmacies to ensure that the
    invoices contained the information necessary for our review. We eliminated over-the-counter
    items. Some invoices did not include National Drug Codes (NDC), which were needed to obtain
    AWP for the drug. We attempted to obtain NDCS in those instances. We used the 1994 Red
    Book, a nationally recognized reference for drug product and pricing information, to obtain NDCS

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      or identi& over-the-counter items. One prominent wholesaler, whose invoices contained that
      wholesaler’s item number rather than NDCS, provided us with a listing that converted their item
      number to an NDC. If we were unable to identifi the NDC for a drug, we eliminated the drug.
      Thk was a common occurrence for generic drugs where there was no indication on the invoice as
      to the manufacturer of the drug.

      We obtained a listing from HCFA that indicated whether a drug is a brand name or generic drug.
      We used that listing to classifi each drug on the invoices as brand or generic. If a drug was not
      on the HCFA listing, we used the Red Book to determine whether the drug was brand or generic.
      Additionally, we obtained drug expenditure itiormation from HCFA-64 Reports.

      The State of Missouri provided us with a pricing file for the purpose of obtaining the AWP for
      each drug. We compared the invoice drug price to AWP for each drug and calculated the
      percentage, if any, by which AWP exceeded the invoice price. If a drug from an invoice was not
      on the pricing file we eliminated that drug.

      An initial meeting was held in Richmond, Virginia on August 30-31, 1994, with Medicaid
      pharmacy representatives from the sample States. At this meeting, we presented a methodology
      for performing the review and the methodology was refined with input from the State
      representatives. At a follow-up meeting held in Richmond, Vkginia, on September 27-28, 1995,
      we presented the results of our review with the sample States.


1
      We used OAS statistical computer software to calculate all estimates as well as to generate all
      random numbers. We did not independently verifi any information obtained from third party
      sources. Our review was conducted by our Little Rock, Arkansas OAS field ofilce with
      assistance from our OAS field oi%ces in Baton Rouge, Louisiana, and Austin, Texas from
      September 1994 to September 1995.




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                                                  FINDINGsANDwCOMMENDAT1ONS
        BRAND NAME DRUGS

        We estimate that AWP exceeded invoice prices for brand name drugs by 17.5 percent. The
        estimate combined all pharmacy categories except for non-traditional pharmacies and was
        based on the comparison to AWP of 1,111 invoice prices received from 29 pharrnac.ks. The
        standard deviation for this estimate was 0.34 percent (see Appendix 2).

        The estimates that AWP exceeded invoice prices for brand name drugs are summarized                                                                                                                                                                                    in the




                          .,..
        following table:




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        The following table shows the number of pharmacies sampled and the number of plices reviewed
        by individual category for brand name drugs.




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            Urban           -lnd=pontiont                                                                                               7

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    GENERIC DRUGS

    We estimate that AWP exceeded invoice prices for generic drugs by 41.4 percent. Once again,
    the estimate combined all pharmacy categories except non-traditional pharmacies. The estimate
    was based on the comparison to AWP of 608 invoice prices received from 29 pharmacies. The
    standard deviation for this estimate was 5.41 percent (see Appendix 2).

    The estimates that AWP exceeded invoice prices for generic drugs aresummarized by”’liidividual
    categories in the following table:


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t              40


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    The following table shows the number of pharmacies sampled and the number of prices reviewed
    by individual category for the generic drugs.



                                                         Number          of                               Pricaes        from
                                               Sampl-            -~arma=i-=                     Sample              Pharmacies




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     Urb=n-lndopondont



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         Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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                      CONCLUSIONSANDRECOMMENDATION
     Based on our review, we have determined that there is a significant difference between AWP and
     pharmacy acquisition costs. The difference between AWP and pharmacy acquisition costs is
     significantly greater for generic drugs than for brand name drugs. In general, State
     representatives believed that the review supported current State practices to establish pharmacy
                                                                                              —-
                                                                                              .
     reimbursement for ingredient cost at levels below AWP.

     We recognize that acquisition cost is just one factor in pharmacy reimbursement policy and that
     any change to that policy should also consider the other factors discussed in the Scope section of
     our report. Additionally, the effect of Federal upper limit amounts on generic drug
     reimbursements or usual and customary charge limitations should be taken into consideration.
     However, a change in any of the factors affecting pharmacy reimbursement could have a
     significant impact on expenditures because of the size of the program ($1.3 billion) in California.
     We believe that the difference between AWP and pharmacy acquisition costs as determined by our
     review is significant enough to warrant consideration by the State in any evaluation of the drug
     program. Therefore, we recommend that the State Agency consider the results of this review in
     determining any fiture changes to pharmacy reimbursement for Medicaid drugs.

}
     STATE AGENCY           COMMENTS
[
i    The Deputy Director of the State Agency responded to our drafl report in a letter dated
~    March 25, 1996. The State Agency stated that the audit results substantiated their position that
I    current drug ingredient cost reimbursement does not reflect actual purchasing activity of
1    California pharmacies and that they intended to use the report data to support a provision in their
     Governor’s budget proposal to decrease drug ingredient reimbursement. The fill text of State
1’
[    Agency’s comments are included in Appendix 4.




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                        APPENDICES
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                                                                                 APPENDIX I
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                                 SAMPLE DESCMPTION

    Sample Objectives:

          Develop an estimate of the extent that Average Wholesale Prices (AWP) exceed actual
          invoice prices to Medicaid pharmacies in California for brand name drugs and for
          generic drugs.

    Population:

          The sampling population was pharmacy providers participating      in the Medicaid
          prescription drug program of the State Agency.

    Sampling   Frame:

          The sampling frame was a listing of all pharmacy providers participating in the Medicaid
          prescription drug program.

    Sample Design:

          A sample of 12 pharmacies was randomly selected from each of 5 strata. The five strata
          of pharmacies were rural-chain, rural-independent, urban-chain, urban-independent, and
          non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). Each
          pharmacy was assigned a month from 1994 for which to provide invoices. All pharmacies
          were initially assigned a month from January through September in a method designed to
          provide a cross-section of the 9-month period. The largest invoice from each of four
          different sources of supply was requested. The sources of supply were identified as
          wholesalers, chain warehouse distribution centers, generic distributors, and direct
          manufacturer purchases. All invoice prices were compared to AWP.

    Sample Size:

          Twelve pharmacies were selected from each stratum for a total of 60 pharmacies.

    Source of Random Numbers:

          OAS statistical sampling software was used to generate the random numbers.
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                                                                                 APPENDIX 1
                                                                                  PAGE 2 of 2

    Characteristics to be Measured:

          From our review of the pharmacy invoices, we calculated the percentage that AWP
                                                                                       .—
          exceeded actual invoice prices for all drugs on the invoices submitted.

    Treatment of Missing Sample Items:

          No spare was substituted for a pharmacy that did not provide information. If a pharmacy
          did not send an invoice for a particular type of supplier, we assumed that the pharmacy did
          not purchase drugs from that type of supplier during the month assigned to the pharmacy.

    Estimation Methodology:

         We used OAS Statistical Software to project the percentage difference between AWP and
         actual invoice prices for each stratum, as well as an overall percentage difference. The
         overall percentage difference excluded the non-traditional pharmacies. The projections
         were done separately for brand name drugs and generics.

    Other Evidence:

         We obtained AWP from First DataBank.
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                                                                    APPENDIX 2

                 CALIFORNIA        SAMPLE   RESULTS
              BRAND    NAME   AND GENERIC           DRUGS




                        10$    t             52.S           5.77      49.17   56.70


                        13C   12             53.5           9.16      49.40   57.69


                      2,999    4             31.s       20.7’2        14.82   48.88


                      2,621    7             51.2           6.4C      47.25   55.20


                       853     4             56.4           10.82     47.47   65.23


                      5.859   29             41.4           5.41      32.50   50.29
.
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                                                                            APPENDIX 3

                                NATIONWIDE         SAMPLE      RESULTS
                               BRAND    NAME AND GENERIC           DRUGS




    RURAL-CHAIN


    RLl~-INDmENDENT


    I-lRBAN-C~~


    URBAN-INDEPENDENT


    NON-TRADITIONAL


    OVERALL (EXCL. NON-TRAD)




    RURAL-CHAIN                     1,095     73       2,963       47.5    1.63   44.81   50.2C


    RcT~JNDwmDENT                   1,499     m        1,798       47.4    0.93   45.85   48.92


    URBAN-CHAIN                     8,194     72       2,634       37.6    2.82   32.97   42.26


    URBAN-INDEPENDENT              6,242      91       1,680       46.’i   2.44   42.7(   50.73


    NON-TRADITIONAL                2,026      59       1,262       57.7    1.98   54.4?   60.96


    OVERALL (EXCL. NON-TIWD)       17,030    314       9,075       42.:    0.90   40.9    43.9?
1“=
                             Case 1:01-cv-12257-PBS Document 6208-15 Filed 06/29/09 Page 20 of 20
                                                                                APPENDIX 4
      STATE OF      .CALIFCXINIA-HEALTH         AfsJD   WELFARE AGENCY                                          PETE WILSON,    Governor


      DEPARTMENT                          OF   HEALTH        SERVICES                                                          .-Y”’:”””
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      SACRAMENTO,          CA     94234-7320

      (916) 654-0391                                                     MAR 251996




                      Ms. June Gibbs Brown
                      Inspector General
                      United States Department of
                        Health 2 Human Services
                      7500 Security Boulevard
                      Baltimore, MD 21244-1850

                      Dear Ms. Brown:

                               Thank you for your letter of February 15, 1996 to S. Kimberly Belsh& Director,
                      Department of Health Services (DHS), regarding the results of the review of California pharmacy
                      acquisition cost for drugs reimbursed under the Medicaid program. Your letter has been referred
                      to this office for reply.

                               We received your correspondence and the copy of the draft report on February 28, and
                      have reviewed the results of the audit contained in the draft report. The draft report data
                      indicates that a reduction in our drug ingredient cost reimbursement would be appropriate at this
                      time. DHS intends to use these results, when published in the final report, to support a provision
                      of our Governor’s budget proposal to decrease drug ingredient reimbursement. The audit results
                      will, hopefi.dly, substantiate DHS’ position that current drug ingredient cost reimbursement by
                      the Medi-Cal program does not reflect actual purchasing activity of California pharmacies.

                               I appreciate the opportunity to be involved in this audit and I am pleased that we had the
                      opportunity to work with your staff and the representatives of the other ten states in developing
                      this report. I am looking forward to receiving your final report in a timely manner so we may use
                      this information in support of our proposed budget legislation.

                                                                             Sincerely,




                                                                            Yohn Rodiguez
                                                                              eputy Director
                                                                             Medical Care Services
